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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
KARUNAMUNIGE CHAMILA . . . _
KRISHANTHL et al.’ Civll Actlon No.. 09-5395(JLL)(JAD)
Plaintiffs,
v FINDINGS OF FACT AND
' CONCLUSIONS OF LAW
AND ORDER GRANTING
RAJAKUMARA RAJARATNAM, et al. MOTION TO SEAL

Defendants.

 

Pursuant to this Court’s August 25, 2017 Letter Order, ECF No. 313, the parties have

filed a motion to permanently seal unredacted versions of the following materials:

ECF No. 245 ECF No. 276 ECF No. 304-8
ECF No. 259 ECF No. 276-l ECF No. 306
ECF No. 259-2 ECF No. 304 ECF No. 306-1
ECF No. 260 ECF No. 304-l ECF No. 306-9
ECF No. 261 ECF No. 304-2 ECF No. 307
ECF No. 263 ECF No. 304-3 ECF No. 313
ECF No. 271 ECF No. 304-4

The Court, having considered the parties’ Motion to Seal, including counsel’s declaration and
attached appendix, the nature of` the materials at issue, the public and private interests, the harm
that may result if the materials are not sealed, and the available alternatives to sealing the
documents, finds the parties have satisfied Local Civil rule 5.3(c) and grants the motion:

1. On April 22, 2015, the Court entered the Discovery Confidentiality Order, later
amended, to govern information produced during discovery in this case. ECF Nos. 203, 215.

2. Pursuant to the Discovery Confidentiality Order, as amended, Plaintiffs
designated certain information as confidential, which designations Defendants challenged The

Court’s August 25, 2017 Letter Order concluded that the identities and contact information for

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two of Plaintiffs’ fact witnesses shall remain designated “Outside Attorneys’ Eyes Only.” ECF
No. 313 at 5. The Court further found that the personal contact information for one of three
individuals retained by Plaintiffs in connection with the above-captioned case shall remain
designated “Outside Attomeys’ Eyes Only.” Id. at 12-13. The Court found that the personal
contact information belonging to the other two individuals, initially designated “Outside
Attorneys’ Eyes Only,” shall be designated “Confidential.” Id. at 13.

3. Over the course of presenting and resolving the dispute over the propriety of
Plaintiffs’ confidentiality designations, dozens of submissions and orders containing the
confidential information at issue in the dispute were filed temporarily under seal. The August 25
Order directed the parties to meet and confer regarding those materials. ECF No. 313 at 14. In
particular, the Court directed the parties to determine which materials currently under seal
contain information that, in light of its August 25 Order, shall remain designated “Confidential”
and/or “Outside Attorneys’ Eyes Only,” to file a motion to maintain unredacted versions of those
materials under seal, and also to file redacted versions of those materials on the public docket.
Id.

4. As stated in the Declaration of Joseph J. DePalma, Esq., filed in support of the
parties’ Motion to Seal, the parties met and conferred in accordance with the August 25 Order.
The DePalma declaration further states that, pursuant to the August 25 Order, the parties have
come to an agreement as to which materials currently under seal may now be made public and
which may be maintained under seal. Indeed, the parties have already separately identified

which materials should be unsealed and filed redacted versions of the materials they determined
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5. While Defendants have agreed to this treatment of these materials currently under
seal for the purposes of complying with the August 25 Order, they have expressly done so
without waiver of any rights, including appellate rights.

6. For the reasons stated m the August 25 Order, for good cause §hown, and finding

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no less restrictive alternative is available, the parties’ Motion to Seal\/is GRANTED/ a/\p( !~/ is pw?‘hc/`

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DATED: \ ®\\\>\\\WV so oRDERED:

Ho§rab'le Joseph A. Dickson

United States Magistrate Judge

 

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